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UNITED STATES DISTRICT COURT S = 6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: 2:21-cv-04067-AB-PD Date: November 16, 2021

Title: Bryant Marin v. FCA US LLC, et al

 

Present: The Honorable ANDRE BIROTTE JR., United States District Judge

 

Carla Badirian N/A
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Appearing None Appearing

Proceedings: [In Chambers] ORDER REMANDING CASE TO STATE
COURT

On November 9, 2021, the Court issued an Order (Dkt. No. 19) granting
Plaintiff leave to file an First Amended Complaint adding non-diverse defendant
Bravo Chrysler Dodge Jeep Ram of Alhambra to the action.

On November 10, 2021, Plaintiff filed the FAC. (Dkt. No. 20.)

Accordingly, consistent with the Order, the Court lacks subject matter
jurisdiction over this action. Therefore, the Court ORDERS this case
REMANDED to Los Angeles County Superior Court.

IT IS SO ORDERED.

CV-90 (12/02) CIVIL MINUTES — GENERAL Initials of Deputy Clerk CB

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